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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA

CLEAN LABEL PROJECT FOUNDATION,

                      Plaintiff,

           v.
                                      Case No. 21-cv-11-JDB
NOW HEALTH GROUP, INC,                Judge John D. Bates

                      Defendant.




      CLEAN LABEL PROJECT FOUNDATION’S REPLY TO DEFENDANT’S
            OPPOSITION TO PLAINTIFF’S MOTION TO REMAND
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        COMES NOW the Plaintiff Clean Label Project Foundation (“Plaintiff” or “CLP”), by and

through counsel, respectfully submits this Reply to the Defendant NOW Health Group’s

(“Defendant” or “NOW”) Opposition to Plaintiff’s Motion to Remand to D.C. Superior Court

[ECF 14] and moves this Court to remand this case back to the D.C. Superior Court, and as grounds

therefore states:

                                             INTRODUCTION

        This case should be remanded, and the Defendant has made no colorable arguments

otherwise. Plaintiff brings this action authorized under the District of Columbia Consumer

Protection Procedures Act, D.C. Code § 28-3901 et seq. (“CPPA”). This D.C. CPPA action was

brought on behalf of CLP itself and the general public and seeks injunctive relief for the residents

of the District of Columbia against the Defendant’s deceptive advertising. Defendant has falsely

marketed three of its prenatal supplement products (“Products”) 1 as containing 1000mcg/serving

of folic acid when, in fact, Plaintiff uncovered that Defendant’s Products were both under-

formulated and adulterated with heavy metals including lead, cadmium, and mercury through the

independent ISO-17025 accredited laboratory testing. See Exhibit 1, First Amended Compl. (FAC)

at ¶ 3-5, 110-117, 120-136. Thus, this action properly belongs in the D.C. Superior Court as

provided under the D.C. CPPA statute. See D.C. Code § 28-3901 et seq.

        Defendant has incorrectly claimed that this Court has diversity jurisdiction over this action.

Although the parties are diverse, the amount in controversy, as affirmatively stated in Plaintiff’s

Complaint and the First Amended Complaint, which must be taken as true at this stage, “does not



1
 The three Products are as follows: 1) Super Nutrition SimplyOne Prenatal (90ct) (claimed amount of folic acid:
1000mcg/serving; test results: 737.46mcg/serving) (yielded a lead content 125.11ppb and a cadmium content of
150.51ppb); 2) Super Nutrition Prenatal Blend (180ct) (yielded a lead content of 68.27ppb and a cadmium content of
130.8ppb); 3) Super nutrition SimplyOne Prenatal (30ct) (yielded a lead content of 143.49ppb, a cadmium content of
231.57ppb, and a mercury content of 12.87ppb).

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exceed the federal standard,” and is, in reality, far below the seventy-five thousand dollar ($75,

000) threshold required for diversity jurisdiction. 2 See Ex. 1, FAC p. 7 n.14; see also Ex. 1, FAC

at ¶ 10 (stating Plaintiff’s caused the Products to be purchased for the purpose of evaluation by a

private laboratory).

         Defendant’s allegation that the amount in controversy is over seventy-five thousand dollars

is a gross exaggeration based on aggregating speculative costs to the Defendant, and such

aggregation of baseless numbers to inflate the amount in controversy has been consistently

disallowed in prior case law. See Breakman v. AOL LLC, 545 F. Supp. 2d 96, 102-08 (D.D.C.

2008). Defendant’s arguments regarding the amount in controversy must fail, as CLP is only

eligible for the statutory damages owed to it as a consumer, acting on behalf of the general public

as a private attorney pursuant to D.C Code §28-3905(k)(1)(C)-(D) and § 28-3905(k)(2). See

Zuckman v. Monster Beverage Corp., 958 F. Supp. 2d 293, 297-301 (D.D.C 2013).

         Regarding the issue of federal question, Defendant misapplies Grable & Sons Metal

Prods., Inc. v. Darue Eng’g & Mfg. and erroneously argues that Plaintiff’s Amended Complaint

implicates the Federal Food, Drug and Cosmetics Act [hereinafter FDCA]. See Grable & Sons

Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 312 (2005); see 21 U.S.C. § 350(a); see

also 21 C.F.R. §§ 106-07. Notably, federal courts are allowed to exercise federal jurisdiction over

a state law claim only in very rare circumstances. Federal jurisdiction may be imposed on a state



2
  A unit of NOW’s Products costs approximately $8.03 - $22.77 per unit, and Plaintiff’s expenses in purchasing the
units for laboratory testing clearly fall far below the $75,000 threshold. See Exhibit 2, Market Price of D’s Prenatal
Products. Under the D.C. CPPA, any claim under this chapter shall be brought in the Superior Court of the District
of Columbia and may recover the following remedies: (A) Treble damages or $1,500 per violation, whichever is
greater, payable to the consumer. See § 28-3905(k)(2) Thus, a hypothetical statutory award in this case would be no
more than $1,500 x 3 (units) = $4,500 for each of the tainted units. See § 28-3905(k)(2). Moreover, contrary to
Defendant’s arguments, the cost of injunctive relief cannot be calculated based on the cost-to-defendant test, and
punitive damages and conjectures about attorney’s fees or expert costs cannot be aggregated to meet the amount-in-
controversy requirement. See Breakman v. AOL LLC, 545 F. Supp. 2d 96, 102-108 (D.D.C. 2008). Thus, Defendant’s
diversity jurisdiction argument fails entirely. 28 U.S. Code § 1332.

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law claim only when the meaning of the federal law or the interpretation of the federal law is the

central issue to the state law claim. This action is purely based on the D.C. CPPA and alleges that

Defendant’s conduct constitutes deceptive advertising to D.C. consumers. Thus, this action does

not fall into the narrow scope of Grable, and there is no federal question that could confer federal

jurisdiction over this action. Grable, 545 U.S. 308, 312.

       Further, in order to manufacture a false collision with federal law, the Defendant

prematurely argued that Plaintiff’s prayer for relief would cause the state court to supersede the

federal regulations for the labeling of food [including dietary supplements] and that Plaintiff’s

CPPA claim is asking the Court to adhere to a standard for adulteration and safety as to certain

alleged heavy metal contaminates in the Products. See ECF 14, Def. Opp. to P’s Mtn to Remand,

at 8-9. Additionally, the Defendant argued that whether NOW’s Products are “adulterated” under

U.S.C. § 342(f)(1) is a federal question and the central issue of this case. See ECF 14, Def. Opp.

to P’s Mtn to Remand, at 9. Both of Defendant’s arguments must fail. To be clear, Plaintiff has

requested none of these remedies in its prayer for relief, as clearly stated in the First Amended

Complaint. See Ex. 1, FAC. at 30. Defendant argued that CLP is trying to use the CPPA to

essentially regulate what NOW can and cannot say on the labels and advertising of its dietary

supplement products. This is simply untrue. Plaintiff CLP is not alleging that it is unacceptable

for Defendant’s prenatal vitamins to contain substances that would render it non-compliant with

the FDCA. Similarly, the Plaintiff is not arguing how much folic acid the Defendant’s prenatal

Products should contain. Rather, Plaintiff contends that the presence of lead, cadmium, and

mercury with under-formulated folic acid in NOW’s Products contradicts what a reasonable

consumer would expect in prenatal vitamins marketed as superior, “triple power multivitamins,”

“better nutrition,” “better birth weight,” “support full-term birth, stronger baby’s bones & energy



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all day,” and beneficial to “the development of fetus,” as a consumer possesses the statutory right

to be free from improper trade practices under the D.C. CPPA. See D.C. Code § 28-3904.

        In sum, this case should be remanded back to the D.C. Superior Court as the Defendant has

presented no colorable argument and has failed to carry its burden of proof for removal to federal

court based on either diversity jurisdiction or federal question jurisdiction. Apton v. Volkswagen

Group of Am., Inc., 233 F. Supp. 3d at 11, 13-14, 17-18 (D.D.C. 2017).

                                            ARGUMENT

   I.       FEDERAL COURT DOES NOT HAVE DIVERSITY JURISDICTION OVER
            THIS ACTION SINCE THE AMOUNT IN CONTROVERSY DOES NOT
            EXCEED $75,000

   Plaintiff objects to Defendant NOW’s arguments that the amount in controversy exceeds the

$75,000 threshold. Defendant argued that CLP has not expressly disclaimed the total amount of

relief sought under the CPPA – including attorney fees, injunctive relief, and corrective relief

advertising – would be less than $75,000, and thus the amount in controversy would necessarily

exceed $75,000. See ECF 14, p. 3. This equivocation is untrue.

        To be clear, Plaintiff does not state an explicit prayer for relief regarding statutory damages,

rather only injunctive relief on behalf of the general public. See Ex. 1, FAC at 30. However, even

if Plaintiff CLP, as a consumer, were to seek statutory damages for itself under 28-3905(k)(2)(A)

based on no more than three unit of the Products purchased for laboratory testing at a price of no

more than $22.77 per unit (for a maximum of $1,500 (per violation) x 3 (units) = $4,500 in

statutory damages), relevant law shows that this does not justify removal. See § 28-3905(k)(2)

(“Any claim under this chapter shall be brought in the Superior Court of the District of Columbia

and may recover the following remedies: (A) Treble damages or $1,500 per violation, whichever

is greater, payable to the consumer.”); see also Hackman v. One Brands, LLC, 2019 U.S. Dist.



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LEXIS 55635, 2019 WL 1440202 (D.D.C. Apr. 1, 2019), at *26, 27 (“The DCCPPA sets damages

at $1,500 per violation; accordingly, Plaintiff requests $3,000 in statutory damages….Even if the

Court combines these amounts, Defendant has established that Plaintiff’s amount in controversy

is only $27,825, well below the required $75,000.”); and see Exhibit 2, Market Price of D’s

Prenatal Products. Therefore, even if Plaintiff CLP sought statutory damages for itself, the

available maximum statutory damages of $4,500 is insufficient to meet the $75,000 amount-in-

controversy for federal jurisdiction.

        Defendant adds up the very speculative costs of the injunctive relief, corrective advertising,

punitive damages, future attorneys’ and experts’ fees, and other monetary damages without any

evidentiary support even though the burden of proof to provide such evidence for removal to

federal court lies with the Defendant. See ECF 14, Def. Opp. to P’s Mtn to Remand, at 4-5; Apton,

233 F. Supp. 3d at 11. Such aggregation of speculative costs that the Defendant attempts to rely

upon in order to reach the amount in controversy was analyzed and squarely rejected in Breakman.

See Breakman, 545 F. Supp. 2d at 102-108 (holding that there is a strong presumption that the

initiation of a case in state court means that the plaintiffs have not claimed an amount to qualify

for federal jurisdiction, that the aggregation of actual and statutory damages of each harmed

consumer is improper in representative actions, that the cost of injunctive relief cannot be

calculated based on the cost-to-defendant test, and that punitive damages and conjectures about

attorneys’ fees and expert costs cannot be aggregated to meet the amount-in-controversy

requirement). 3


3
  One need to look no further than Snyder, 394 U.S. 332, and Zahn, 414 U.S. 291, establishing the non-aggregation
principle, to see why Defendant’s potential costs of complying with CLP’s injunction cannot establish the amount-in-
controversy. Snyder v. Harris, 394 U.S. 332, 335 (1969) (“the separate and distinct claims of two or more plaintiffs
cannot be aggregated in order to satisfy the jurisdictional amount requirement.”); Zahn v. Int’l Paper Co., 414 U.S.
291, 294 (1973) (“multiple plaintiffs with separate and distinct claims must each satisfy the jurisdictional-amount
requirement for suit”). The non-aggregation principle states that the value of different claims cannot “be aggregated

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         Plaintiff disagrees with Defendant’s argument that Plaintiff fails to disclaim the $75,000

threshold. On the contrary, CLP expressly stated in its original Complaint and the First Amended

Complaint that “there is no diversity jurisdiction as the amount in controversy does not exceed the

federal standard.” See Ex. 1, FAC p. 7 n. 14; and see Dkt. No. 11 at 4. Plaintiff not only disputes

but fully rejects Defendant’s speculative $75,000 amount-in-controversy, which is inflated by

Defendant’s violation of the non-aggregation principle. See Breakman, 545 F. Supp. 2d at 102-

108; see also Toxin Free USA v. J.M. Smucker Co., No. 20-cv-1013 (DLF), 2020 U.S. Dist. LEXIS

222520, at *10-11 (D.D.C. Nov. 30, 2020) (where the plaintiff does not seek any integrated claim

for relief that would hold the defendant liable for a fixed amount so that the general public would

have a common and undivided interest, and the defendant's compliance costs cannot be aggregated

to satisfy the amount in controversy requirement.).

         Defendant cited to Tatum v. Laird 444 F.2d 947, 951 (D.C. Cir. 1971) and non-binding

cases from other Circuits and contended that the D.C. Circuit wholesale accepted the cost-to-

defendant test in determining the amount in controversy. See ECF 14 Def. Opp. to P’s Mtn to

Remand, at 3. Defendant’s representation is inaccurate. Notably, although the D.C. Circuit

recognized the “possible conflict” between the non-aggregation principle and “the rule which

allows the jurisdictional amount to be based on the cost to the defendant of proposed relief,” the

Court has not “attempted to resolve” the possible conflict. See Fenster v. Schneider, 636 F.2d 765,



to meet the required jurisdictional amount.” Snyder, 394 U.S. at 336. Its objective is to limit “transfer[s] into the
federal courts [of] numerous local controversies involving exclusively questions of state law.” Id. at 340. Accordingly,
it instructed lower courts to “‘strictly constru[e]’” the jurisdictional amount to prevent an end-run around “Congress[’s]
determin[ation] that cases involving lesser amounts should be left to be dealt with by the state courts.” Id. at 340
(quoting Healy v. Ratta, 292 U.S. 263, 270 (1934)). Defendant NOW also cites to Tatum v. Laird, 444 F.2d 947, 951
(D.C. Cir. April 27, 1971), to promote the “either-viewpoint” approach, which has been thoroughly discussed and
rejected in Animal Legal Def. Fund because it conflicts with the non-aggregation principle that teaches “the cost of
compliance that a court should consider when determining the amount in controversy is the total amount divided
among the beneficiaries of the injunction” in D.C. CPPA representative actions. See 249 F. Supp. 3d at 59-61.


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767 n.1 (D.C. Cir. 1980). Moreover, the similar cost-to-defendant argument has been rejected by

a recent decision of this Court because it contradicts the non-aggregation principle. See Animal

Legal Def. Fund v. Hormel Foods Corp, 249 F. Supp 3d 53, 60 (D.D.C. 2017) (“the Court is

persuaded by several district court opinions from this Circuit that have considered this conflict in

the context of cases brought under the DCCPPA on behalf of the general public seeking injunctive

relief and have determined that considering the total cost to the Defendant of complying with that

relief would violate the non-aggregation principle.”); see also Hackman v. One Brands, LLC, 2019

U.S. Dist. LEXIS 55635, at *16-17.

       Therefore, Defendant is obligated to demonstrate "that the cost of the injunction divided

pro rata among the members of the general public of Washington, D.C. would exceed the

jurisdictional threshold.” See Animal Legal Def. Fund, 249 F. Supp. 3d at 60-61 (rejecting the

declaration of the defendant’s vice president of marketing that the cost of compliance would add

up to $5,440,000, because defendant cannot credibly demonstrate that the cost of the injunction

divided pro rata among the general public would exceed the jurisdictional threshold); see also,

Breathe DC v. Santa Fe Nat. Tobacco Co., 232 F. Supp. 3d 163, 170-71 (D.D.C. 2017) (rejecting

the defendant’s aggregated costs of compliance of $900,000, even when supported by testimony

from the company’s director of marketing, because "the cost of compliance must be divided among

the beneficiaries of the injunction."); see also, Toxin Free USA, 2020 U.S. Dist. LEXIS 222520,

at *8-11 (holding that compliance cost cannot be aggregated, as “each member of the general

public on whose behalf Toxin Free seeks injunctive relief could pursue a claim against the

defendants under the DCCPA for the alleged conduct challenged in this action.”); and see Food &

Water Watch, Inc. v. Tyson Foods, Inc., No. 19-cv-2811, 2020 U.S. Dist. LEXIS 38232, at *14-18

(D.D.C. Mar. 5, 2020) (same). Defendant’s argument parrots those of other companies sued under



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the D.C. CPPA for injunctive relief, which have uniformly resulted in remand because the

defendants cannot meet their burden to attain diversity jurisdiction based on the cost of the

injunction. 4

        Lastly, Defendant cited to Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 549

(2005) and Synfuel Technologies v. DHL Express (USA), 463 F.3d 646, 652 (7th Cir. 2006) and

argued that "the defendant’s compliance costs are unaffected by the number of claimants. Every

plaintiff after the first adds nothing to the defendant’s costs.” See ECF 14 Def. Opp. to P’s Mtn to

Remand, at 6. Notably, neither of the cases cited by Defendant concerned a representative action

seeking injunctive relief on behalf of the general public. In Exxon Mobil Corp. v. Allapattah Servs.,

Inc., the central issue is whether the federal court can exercise supplemental jurisdiction over

additional plaintiffs if their claims do not meet the amount-in-controversy in a diversity action. In

the current case, this Court need not consider the supplemental jurisdiction issue because it lacks

original diversity jurisdiction in the first place. The other case cited by the Defendant, Synfuel

Technologies v. DHL Express (USA) involves a class action, which is totally different from CLP’s

representative action. See Synfuel Technologies v. DHL Express (USA), 463 F.3d 646, 652 (7th

Cir. 2006). Unlike Synfuel, CLP did not file a class action, and CLP is the only plaintiff in this

case. Therefore, Synfuel is irrelevant to the determination of the amount-in-controversy for this

case.

        In conclusion, Defendant has the burden of proof in demonstrating diversity jurisdiction

for removal to federal court, and it has failed to do so by relying upon speculative costs and


4
  See Hackman, 2019 U.S. Dist. LEXIS 55635, at *8-13; Smith, 2017 U.S. Dist. LEXIS 135478, at *1-5; Nat'l
Consumers League v. Flowers Bakeries, LLC, 36 F. Supp. 3d 26, 32 (D.D.C. 2014); Nat'l Consumers League v. Bimbo
Bakeries, 46 F. Supp. 3d 64, 74 (D.D.C. 2014); Zuckman, 958 F. Supp. 2d at 302–03 (D.D.C. 2013); Nat'l Consumers
League v. General Mills, Inc., 680 F. Supp. 2d 132, 140-41 (D.D.C. 2010); Breakman, 545 F. Supp. 2d at 107-08; see
also, 8 D.C. Practice Manual, Consumer Protection, 19 (2013).


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theoretical calculations based on no evidence, and Defendant aggregated the amount-in-

controversy in ways prohibited by prior case law. See Apton, 233 F. Supp. 3d at 11; see also,

Breakman, 545 F. Supp. 2d at 102-108; see also, Hackman, 2019 U.S. Dist. LEXIS 55635, at *13-

25. Because the Defendant has not satisfied the amount-in-controversy requirement, the Court

lacks diversity jurisdiction under 28 U.S.C. § 1332(a).

   II.      REMOVAL IS NOT APPROPRIATE, AS PLAINTIFF CLP BRINGS ONLY
            STATE-LAW CLAIMS AND HAS RAISED NO FEDERAL QUESTION

         To support removal, Defendant NOW argues that CLP’s deceptive marketing claims

brought under the D.C. CPPA is preempted by federal regulations and have raised questions of

federal law, particularly the FDCA. See ECF 14 Def. Opp. to P’s Mtn to Remand, at 7. Defendant

cited to Gunn v. Minton, 568 U.S. 251, 258 (2013) as well as Grable & Sons Metal Prods., Inc. v.

Darue Eng’g & Mfg., 545 U.S. 308, 312 (2005) and argued that the Grable test is met in this case.

See ECF 14 Def. Opp. to P’s Mtn to Remand, at 7. However, the question of whether the Plaintiff’s

claims are preempted is a matter reserved for a motion to dismiss and not before this Court.

Defendant’s argument amount to a preemption defense, and a federal defense does not give rise to

a federal question jurisdiction.

         Contrary to Defendant’s assertions, this case does not fall into the narrow Grable

 framework, which controls cases where federal-question jurisdiction will lie over state-law

 claims that implicate significant federal issues. Grable, 545 U.S. at 312, 314. The Supreme

 Court has since limited the scope of its holding in Grable, clarifying that Grable only applies to

 a “special and small category” of cases, and it “takes more than a federal element” to establish

 federal question jurisdiction under Grable framework. See Empire Healthchoice Assurance, Inc.

 v. McVeigh, 547 U.S. 677, 699, 701 (2006). No federal law nor federal law element could be

 found in CLP’s First Amended Complaint. Unlike in Grable, this Court does not need to interpret

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or inquire into the meaning or requirements of the FDCA in order for the Plaintiff to prevail.

Grable, 545 U.S. at 312. The Defendant attempted to argue in its Opposition that Plaintiff’s

prayer for relief is essentially requiring the Court to decide on the issue of whether Defendant’s

Products are adulterated under federal regulations. However, Defendant misunderstands the test

in Grable.

      Plaintiff CLP makes no claim or reference to any deficiencies in Products’ required

nutritional content as regulated by federal guidelines. Instead, Plaintiff pleaded that Defendant’s

advertising campaign regarding its prenatal products marketed as superior to other competing

products, “triple power multivitamins,” “better birth weight,” “reduced fatigue,” “support full-

term birth, stronger baby’s bones & energy all day,” “reduced fatigue,” is false and deceptive, as

the Products were found to be under-formulated as to folic acid and contain neurotoxins including

lead, cadmium, and mercury under certified laboratory testing. See Ex. 1, FAC ¶¶ 3-5, 10-17,

99-109, 110-19, 123-36; D.C. Code §48-103 et seq. In fact, NOW’s Products were found to

contain one of the highest concentrations of lead, cadmium, and mercury, higher than 62.5% to

96.5% of other prenatal vitamins products tested by CLP. See Ex. 1, FAC ¶ 123-27. The

Complaint alleges with particularity, among other claims under the D.C. CPPA, the following:

      [Defendant NOW]’s Products are under-formulated to folic acid; thus, consumers
      who take the Product for specific advertised health purposes are not getting proper
      dosage… [Defendant NOW]’s Products are adulterated and contain quantifiable
      amounts of heavy metals which are harmful if exposed to both mothers and babies
      during prenatal process… [Defendant NOW]’s marketing practices are false and
      misleading as they extoll the brain-supporting feature of the Products while
      exposing infants and fetuses to concerning levels of known neurotoxins for which
      there is no established safe level. [Defendant NOW]’s Products are adulterated
      under D.C. Code §48-103 et seq… The Products lack the characteristics,
      ingredients, benefits, standards, qualities, or grades that NHG states and implies…
      NHG’s misstatements, innuendo, and omissions of material fact are material and
      have the tendency to misled. NGH knowingly did not sell the Products as
      advertised. The facts as alleged above demonstrates that NHG has violated the
      CPPA, D.C. Code §28-3901 et seq. [Defendant NOW]’s conduct is unlawful trade

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       practice “whether or not any consumer is in fact misled, deceived or damaged
       thereby.” D.C. Code §28-3904… [Defendant NOW] has violated D.C. Code §28-
       3904 et seq.

See Ex. 1, FAC ¶¶ 106-09, 142. None of these claims under the D.C. CPPA concerning deceptive

marketing and false advertising imply or trigger a federal question or federal element.

       In another case brought by the consumer protection group, National Consumers League

 (NCL), against Gerber Good Start infant formula, the NCL sued Gerber under the D.C. CPPA

 because Gerber falsely claimed that Good Start could prevent or reduce infant allergies on its

 label when such claims were untrue. Nat'l Consumers League v. Gerber Prods. Co., No. 2014

 CA 008280 B, 2015 D.C. Super. LEXIS 10, at *8-9 (D.C. Super. Ct. Aug. 5, 2015). At the time,

 Gerber received warning and was being actively investigated by the FDA for its misbranding and

 unauthorized, false advertising of infant formula. See Gerber, 2015 D.C. Super. LEXIS 10, at

 *6-7. Like Defendant NOW, Gerber made the argument that the FDA and/or the FTC have

 primary jurisdiction and contended that the D.C. Superior Court should “defer to the FDA’s on-

 going process and expertise, and dismiss the case.” See id. at *8.

       However, the Court still determined that the nature of the issue does not "justify
       removing [such suits] from the sphere of the judiciary and placing it exclusively
       within the jurisdiction of the FDA." Bimbo, 2015 D.C. Super. LEXIS 5, at *19;
       Doctor's Associates, 2014 D.C. Super. LEXIS 15, at *12-13. This is more so the
       case when the plaintiff's claims are not confined to labeling practices but more
       generally take issue with representations made about the disputed products. See
       Bimbo, 2015 D.C. Super. LEXIS 5, at *19; Doctor's Associates, 2014 D.C. Super.
       LEXIS 15, at *12-13. Here, NCL's claims do not solely concern misbranding, but
       also encompass Gerber's overall marketing practices, of which misbranding is only
       a part. Because the Court has not yet determined what specific remedies NCL seeks
       as corrective advertising or revised labeling, it is premature to dismiss NCL's claims
       on the basis of primary jurisdiction at this early stage. See Bimbo, 2015 D.C. Super.
       LEXIS 5, at *19.

See Gerber, 2015 D.C. Super. LEXIS 10, at *8-9. In Nat'l Consumers League v. Gerber, the D.C.

Superior Court also reviewed and rejected similar federal regulations arguments proffered here by


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Defendant NOW as “premature.” Id. (holding that “plaintiff's claims are not confined to labeling

practices but more generally take issue with representations made about the disputed products”

and “encompass Gerber’s overall marketing practices, of which misbranding is only a part,” thus

the specific remedies constituting corrective advertising or revised labeling were too early to be

determined at the motion to dismiss stage, allowing the Plaintiff’s D.C. CPPA claims to proceed

in D.C. Superior Court). Injunctive relief in this case can take many forms that may curtail the

Defendant’s false adverting campaign and bring the Defendant back into compliance with the D.C.

CPPA, but any specific relief is merely conjecture at this point and cannot be determined until

adequate discovery has been conducted.

       Like Gerber’s Good Start claiming to prevent infant allergies, NOW’s representations

mislead and/or have the ability to mislead consumers into believing that NOW’s Products are

beneficial to health, pregnancy, and the development of fetuses when they are not. See Gerber,

2015 D.C. Super. LEXIS 10, at *4-5, 12-14 (upholding the consumer’s "statutory right to be free

from improper trade practices" under the D.C. CPPA against the infant formula maker, Gerber).

None of Plaintiff’s claims or relief requested implicate a federal question and, therefore, should

properly be litigated in D.C. Superior Court, analogous to how NCL was permitted to do so in

Nat'l Consumers League v. Gerber. Id. at *12-14.

       Recently, the D.C. Superior Court held, in context of motion to dismiss in a lawsuit also

brought by Plaintiff CLP against defendant Panera, LLC, that similar preemption arguments

forwarded by the defendant based on the FDCA and the Nutrition Labeling and Education Act

(“NLEA”) are misplaced, even where regulatory guidelines allowed a tolerance level of the

contaminant, glyphosate, to be higher than what was detected in Panera’s tested product, and where

the plaintiff’s claims were potentially inconsistent with federal laws. The Superior Court stated:



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       Panera confuses the core issue of this case. Plaintiffs are not alleging that it is
       unacceptable to have any trace amount of glyphosate in the food products, but are
       rather contending that the presence of glyphosate, pesticides, or fungicides
       contradicts what a reasonable consumer would consider as "clean" or "100% clean"
       food. Compl. ¶ 61. An interpretation of "clean" in food labeling would not directly
       or indirectly contravene the FDCA and NLEA's regulations of safe levels of
       glyphosate. While Panera may use these regulations and standards as a basis for
       whether a certain level of glyphosate residue in foods is safe, this does not preempt
       the claim overall as Plaintiffs are challenging the use of the word "clean" in
       reference to food that contains the chemical substances. Accordingly, Panera's
       claim that Plaintiffs' allegations are precluded by federal law is without merit.

See Clean Label Project Found. v. Panera, LLC, No. 2019 CA 001898 B, 2019 D.C. Super. LEXIS

14, at *12-13 (D.C. Super. Ct. Oct. 11, 2019) (denying motion to dismiss).

       Similarly, CLP’s Complaint does not explicitly or implicitly allege any federal question.

The Plaintiff is challenging the Products under the D.C. CPPA to determine whether the presence

of neurotoxins in the Products and the under-formulated prenatal vitamins contradict what a

reasonable consumer would consider as beneficial to pregnant mothers and the development of the

fetus. See Ex. 1, FAC ¶¶ 32-98, 99-119; see Clean Label Project Found., 2019 D.C. Super. LEXIS

14, at *12-13.

                                        CONCLUSION

       WHEREFORE, for all the foregoing reasons, and those set forth in its opening

memorandum, Plaintiff Clean Label contends that this Court lacks jurisdiction over this matter and

respectfully requests remand to the D.C. Superior Court.



Dated: March 17, 2021.




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                                              Respectfully submitted,

                                              /s/ Travis Pittman
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 17, 2021, a copy of the foregoing was served via the Court’s

electronic filing system on all counsel of record.




                                              /s/ Travis Pittman
                                              Travis Pittman




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